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JAN 17 2024
ATTACHMENT A

AT GREENBELT 3
CLERK, U.S. DISTRICT COURT

DISTRICT OF MARYLAND
STIPULATION OF FACTS BY DEPUTY

The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

As part of a Freenet investigation, Maryland State Police (“MSP”) identified the
Defendant, ALAKOM-ZED CRAYNE POBRE (“POBRE”) when three files with unique
Freenet identifiers were identified with a high level of probability to have originated from an IP
address assigned to a corporation located at the residence where POBRE lived with his wife.

A search warrant was executed at POBRE’s residence in Laurel, Maryland, on August 14,
2018. MSP examined six devices in POBRE’s residence, including a generic desktop computer
with bar code number X11SA012050170056 and an IP address 71.246.207.61. MSP noticed that
Windows 9.1 Pro was installed on the computer, which also had a VeraCrypt shortcut on the
desktop that led to a folder labeled “Freenet.” MSP was able to recover the RAM content of the
generic desktop that was running at the time of the search warrant execution. The user account
was logged in and MSP photographed the desktop display.

Limited by technical issues, MSP exported a representative sample of the VeraCrypt
volume contents instead of a complete image. A quick search for the term “PTHC” in the exported
Veracrypt volume returned over 800 results. Based on some of the file paths, MSP exported three
folders which appeared to contain suspected child exploitation content. The RAM contained child
pornography images including prepubescent children, infants, and toddlers engaged in sexual acts
or being used for sexual acts by adults. The 489 still images and 50 videos recovered included
depictions of bestiality and bondage.

POBRE’s collection included 34 identified series. The following four victims would have
been 12 years of age or younger at the time the images of them were produced because they had
not yet reached 12 years of age at of the search warrant execution on August 14, 2018: “Mother
Full 20121” (b. 2006), “New Stuff 2011” (b. 2007), “Super Hero Boy 1” (b. 2014); and “winc_ 14”
(b. 2007).

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SO STIPULATED:

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Assistant United States Attorney

Richard Finci, Esq.
Counsel for Defendant

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ZP
